    Case 4:08-cr-00315-RSB-CLR Document 736 Filed 09/15/09 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT

                  FOR THE SOUTHERN DISTRICT OF GEORGIA

                               SAVANNAH DIVISION



THE UNITED STATES OF AMERICA,

                  Plaintiff,

             V.                                    4: 08CR315-28

DONALD FENNELL,

                  Defendant.



                                  ORDER



     Counsel in the above-captioned case have advised the Court

that all pretrial motions have been complied with and/or that all

matters raised in the parties' motions have been resolved by

agreement. Therefore, a hearing in this case is deemed unnecessary.



     SO ORDERED, this      15q7 day of September, 2009.


                                         7iz
                                   UNITED STA ES MAGISTRATE JUDGE
                                   SOUTHERN DISTRICT OF GEORGIA
